              Case 6:18-bk-06437-KSJ        Doc 157     Filed 10/11/19     Page 1 of 5



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:
                                                                               Case No.: 18-06437
                                                                                         Chapter 7
JAMES PENDERGRAFT IV

                      Debtor(s)        /

                           MOTION TO SELL REAL PROPERTY
                                  (1301 Neelys Bend)

                                NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
    without further notice or hearing unless a party in interest files an objection within twenty-
    one (21) days from the date set forth on the attached proof of service, plus an additional three
    days for service if any party was served by U.S. Mail.

        If you object to the relief requested in this paper, you must file your objection with the
    Clerk of the Court at 400 West Washington St, Suite 5100, Orlando, Florida 32801 and serve
    a copy on Arvind Mahendru, Esq., 5703 Red Bug Lake Rd. #284, Winter Springs Florida,
    32708 and any other appropriate persons within the time allowed. If you file and serve a
    response within the time permitted, the Court will either schedule and notify you of a hearing
    or consider the response and grant or deny the relief requested without a hearing.

        If you do not file a response within the time permitted, the Court will consider that you
    do not oppose the relief requested in the paper, will proceed to consider the paper without
    further notice and hearing, and may grant the relief requested.

         COMES NOW Arvind Mahendru, Chapter 7 Trustee, by and through his undersigned

counsel, and hereby moves for authority to sell certain improved real property and pay

transactional costs and in support thereof states as follows:

                                           JURISDICTION

         1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334.This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b) (2) (A),

(M), (N) and (O).




                                                                                                    1
            Case 6:18-bk-06437-KSJ         Doc 157      Filed 10/11/19     Page 2 of 5



       2.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The basis for the relief requested herein are, inter alia, 11 U.S.C. §§ 105, 363(b)

and Federal Rules of Bankruptcy Procedure 2002 and 6004.

                                            BACKGROUND

       4.      On October 18, 2018, the Debtor filed this case for relief under Chapter 7 of the

United States Bankruptcy Code.

       5.      Arvind Mahendru was appointed Chapter 7 trustee (the “Trustee”).

       6.      The Debtor owns real property, by virtue of a deed, located at 1301 NEELYS

BEND ROAD # 47, MADISON, TN with the following legal description:

        ALL THAT CERTAIN PARCEL OF LAND SITUATE IN THE COUNTY OF DAVIDSON
        AND STATE OF TENNESSEE BEING KNOWN AND DESIGNATED AS FOLLOWS
        APARTMENT UNIT NO. F-47, OF NEELY'S BEND CONDOMINIUM CREATED UNDER
        TITLE 64, SECTIONS 2701 ET SEQ. AS AMENDED, TENNESSEE CODE ANNOTATED,
        AND AS ESTABLISHED BY A MASTER DEED, OF RECORD IN BOOK 5483, PAGE 86,
        REGISTER'S OFFICE FOR DAVIDSON COUNTY, TENNESSEE, TOGETHER WITH THE
        UNDIVIDED PERCENTAGE INTEREST IN THE COMMON ELEMENTS APPURTENANT
        TO SAID UNIT AS SET FORTH IN EXHIBIT A-1 OF SAID MASTER DEED. REFERENCE
        IS HEREBY MADE TO THE PLAT OF NEELY'S BEND CONDOMINIUM OF RECORD IN
        BOOK 5200, PAGE 200, SAID REGISTER'S OFFICE, FOR A MORE COMPLETE
        IDENTIFICATION AND DESCRIPTION OF SUCH UNIT.
        PARCEL NUMBER: 052160A04700CO (the “Property”).

       The property is recorded in the name of the debtor and his deceased spouse, Emmarita

Freeman Pendergraft.

       7.      The Trustee completed a title search and found that the Property is not

encumbered by a mortgage lien.

       8.      The Trustee has accepted an offer from Achieve Amazing Investments, LLC (the

Buyer) to purchase this home in the amount of $102,100.00, as payment in full. The current

offer was not the only offer on the property but is the highest offer. Moreover, the estate believes

it is a fair offer for the current economy and the length the property has remained on the market.




                                                                                                     2
             Case 6:18-bk-06437-KSJ         Doc 157      Filed 10/11/19      Page 3 of 5



       9.       Any real property taxes will be paid prorated, as will all other outstanding liens

and encumbrances as identified on that certain Commitment for Title Insurance attached hereto

as Exhibit A.

       10.      The Trustee has attached a “DRAFT” Settlement Statement that outlines the

proposed distribution of the sale proceeds at closing, as Exhibit B.

                                         AUTHORITY TO SELL

       11.      Pursuant to § 363(b)(1) of the Bankruptcy Code, a trustee, after notice and

hearing, may use, sell or lease property of the estate other than in the ordinary course of business.

       12.      The purchase and sale of the Real Property is conditioned upon entry by the Court

of a final, non-appealable order granting this Motion.

       13.      The Trustee further requests that the Court waive the fourteen (14) day stay under

Bankruptcy Rule 6004(h). Pursuant to Rule 6004(h) of the Federal Rules of Bankruptcy

Procedure, unless the Court orders otherwise, all orders authorizing the sale of property pursuant

to § 363 of the Bankruptcy Code are automatically stayed until the expiration of 14 days after the

entry of the sale order. The purpose of Bankruptcy Rule 6004(h) is to provide sufficient time for

an objecting party to appeal before the order is implemented. See Advisory Committee Notes to

Fed. R. Bankr. P. 6004(h). Given the timeframes and notice of the sale provided to all

lienholders and parties asserting an interest in the Property, the Court should waive the 14-day

stay provisions of the Bankruptcy Rules in this case.

                                              CONCLUSION

       14.      The Trustee, in the exercise of his business judgment, believes, and therefore

avers, that the proposed sale is in the best interest of the creditors of the bankruptcy estate insofar

as there is otherwise no equity in the Property, the Trustee is more familiar with the current




                                                                                                      3
            Case 6:18-bk-06437-KSJ          Doc 157      Filed 10/11/19      Page 4 of 5



market than other interested parties, and a sale under this motion serves the best interest of all

interested parties. The Buyer has agreed, subject to Court approval, to pay to the Trustee the sum

of $102,100.00 in exchange for the Property.

       WHEREFORE, the Trustee moves for the entry of an Order substantially in the form

attached hereto:

       A.      Authorizing the sale of the Property to the purchaser; and,

       B.      Authorizing the Trustee to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale of the

Property including executing a deed conveying the interests of the Debtor or any other party

claiming an interest in the Property to the Purchaser;

       C.      Authorizing the Trustee and any escrow agent upon the Trustee’s written

instruction, shall be authorized to make such disbursements on or after the closing of the sale as

are required by the purchase agreement or order of this Court, including, but not limited to, (a)

all delinquent real property taxes and outstanding post-petition real property taxes pro rated as of

the closing with respect to the real property included among the purchased assets (b) any

outstanding Home Owner’s Association fee or assessment arrearages; and (c) other anticipated

closing costs, and

   D. Granting the Trustee such other and further relief as is just and proper.



                                               Respectfully submitted,

                                               /s/ Arvind Mahendru
                                               Arvind Mahendru, Esq.
                                               5703 Red Bug Lake Rd. #284
                                               Winter Springs, FL 32708
                                               407-504-2462




                                                                                                     4
           Case 6:18-bk-06437-KSJ          Doc 157     Filed 10/11/19     Page 5 of 5



                                      CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served by U.S. Mail and/or
electronic delivery to all parties listed below and on the attached mailing matrix this October 11,
2019.


                                                     /s/ Arvind Mahendru
                                                     Arvind Mahendru




                                                                                                      5
